 Case 22-05004        Doc 12   Filed 05/01/22       Entered 05/01/22 20:27:52   Page 1 of 3




                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT
                               BRIDGEPORT DIVISION

                                                         )
 ERICA LAFFERTY; DAVID WHEELER;                          )
 FRANCINE WHEELER; JACQUELINE                            )
 BARDEN; MARK BARDEN; NICOLE                             )   ADV. PROC. NO. 22-05004
 HOCKLEY; IAN HOCKLEY; JENNIFER                          )
 HENSEL; JEREMY RICHMAN; DONNA                           )
 SOTO; CARLEE SOTO-PARISI; CARLOS                        )   May 1, 2022
 M. SOTO; JILLIAN SOTO; AND WILLIAM                      )
 ALDENBERG,                                              )
                                                         )
        Plaintiffs,                                      )
                                                         )
 v.                                                      )
                                                         )
 ALEX EMRIC JONES; INFOWARS, LLC;                        )
 FREE SPEECH SYSTEMS, LLC;                               )
 INFOWARS HEALTH, LLC; PRISON                            )
 PLANET TV, LLC; WOLFGANG                                )
 HALBIG; CORY T. SKLANKA; GENESIS                        )
 COMMUNICATIONS NETWORK, INC.;                           )
 and MIDAS RESOURCES, INC.,                              )
                                                         )
            Defendants.                                  )

      MOTION FOR VISITING ATTORNEY ADMISSION OF ROBERT J. SHANNON

       Cameron L. Atkinson, a member of the Bar of this Court, respectfully asks the

Court to admit Robert J. Shannon of Parkins Lee & Rubio LLP to appear in the above-

captioned matter as a visiting attorney on behalf of the Defendants InfoW, LLC (f/k/a

Infowars, LLC), IWHealth, LLC (f/k/a Infowars Health, LLC), and Prison Planet TV, LLC

(collectively, the “Debtors”) under Local Civil Rule 83.1(d) of the United States District

Court for the District of Connecticut, applied in this Court by Local Bankruptcy Rule 9083-

1. In support of this motion, the undersigned represents:




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 Case 22-05004      Doc 12    Filed 05/01/22       Entered 05/01/22 20:27:52   Page 2 of 3




       1.     The Affidavit of Robert J. Shannon, as required by Local Civil Rule

83.1(d)(1), is attached as Exhibit A.

       2.     Electronic payment in the amount of $200 has been submitted via pay.gov

contemporaneously with the filing of this motion.

       WHEREFORE, the undersigned respectfully requests the Court to enter an order

substantially in the proposed form submitted with this motion admitting Robert J. Shannon

as a visiting attorney in the above-captioned matter on behalf of the Debtors.



Date: May 1, 2022                        Respectfully Submitted,


                                         DEFENDANTS AND DEBTORS, INFOW, LLC
                                         IWHEALTH, LLC PRISON PLANET, LLC


                                         By: /s/ Cameron L. Atkinson /s/
                                         Cameron L. Atkinson (ct31219)
                                         PATTIS & SMITH, LLC
                                         383 Orange Street
                                         New Haven, CT 06511
                                         V: 203-393-3017
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                                         catkinson@pattisandsmith.com




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 Case 22-05004      Doc 12      Filed 05/01/22       Entered 05/01/22 20:27:52    Page 3 of 3




                                CERTIFICATE OF SERVICE

     I hereby certify that on the date of filing, a true and correct copy of the foregoing
document was served by U.S.P.S. and, where indicated, email on the following parties:

 Attn: Eric Goldstein, Jessica M. Signor             Attn: Mario Kenneth Cerame
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                                                              /s/Cameron L. Atkinson
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                                                              Cameron L. Atkinson




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